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                         ASSOCIATION
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                    9                              UNITED STATES DISTRICT COURT
                 10                              CENTRAL DISTRICT OF CALIFORNIA
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                 12      MICHAEL RHAMBO,                         Case No. 2:20-cv-07721-SB-RAO
                 13                             Plaintiff,       DEFENDANT WELLS FARGO
                                                                 BANK, NATIONAL
                 14                       vs.                    ASSOCIATION’S NOTICE OF
                                                                 SETTLEMENT
                 15      WELLS FARGO BANK, NATIONAL
                         ASSOCIATION; RYAN, LLC; and
                 16      DOES 1 to 10,
                 17                             Defendants.
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MORGAN, LEWIS &
 BOCKIUS LLP
 ATTORNEYS AT LAW
   LOS ANGELES
                        DB2/ 40136397.1
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                    1             TO THE COURT, AND ALL PARTIES AND THEIR COUNSEL OF
                    2    RECORD:
                    3             PLEASE TAKE NOTICE THAT, pursuant to agreement of Michael
                    4    Rhambo and Defendant Wells Fargo Bank, National Association (collectively, the
                    5    “Parties”), the above-captioned matter has been resolved. The Parties anticipate
                    6    filing a Stipulation of Dismissal within 60 days.
                    7    Dated: January 7, 2021               MORGAN, LEWIS & BOCKIUS LLP
                    8                                         By     /s/ Kathy H. Gao
                                                                   KATHY H. GAO
                    9                                              Attorney for Defendant
                                                                   WELLS FARGO BANK, NATIONAL
                 10                                                ASSOCIATION
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